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                                    Final Decree Est/Tr Page 1 of 1
B2170 (Form 2170) (12/15)

                            UNITED STATES BANKRUPTCY COURT
                                     Northern District of New York
In Re: Debtor(s) (name(s) and address)                       )
Sarah Kirsten Hogarth                                        )
                                                             )
xxx−xx−5339                                                  )Case Number: 23−60248−6−pgr
60 Peas Eddy Rd.                                             )
Hancock, NY 13783                                            )
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                                                             )Chapter: 7
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                                         FINAL DECREE
The estate of the above named debtor(s) has been fully administered.
IT IS ORDERED THAT:
Randy J. Schaal−Trustee is discharged as trustee of the estate of the above named debtor(s), and
the bond is cancelled.
The case of the above named debtor(s) is closed.

Utica, NY
DATED: 8/15/23
                                               BY THE COURT




                                               Patrick G Radel
                                               U.S. Bankruptcy Judge
